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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
UNITED STATES OF AMERICA )
)
v. ) CRIMINAL NO. 5:22CR50058-001
)
STEPHEN ALEXANDER BOYLES )

PLEA AGREEMENT

Pursuant to Rule 11(c)(1) of the Federal Rules of Criminal Procedure, the parties hereto
acknowledge that they have entered into negotiations which have resulted in this Agreement. The
agreement of the parties is as follows:

COUNTS OF CONVICTION AND DISMISSAL

1. The Defendant, Stephen Alexander Boyles, hereby agrees to plead guilty to count
one (1) of the Indictment charging the Defendant with conspiracy to distribute more than five-
hundred (500) grams of a mixture or substance containing a detectible of cocaine, in violation of
21 U.S.C. § 841(a)(1), 21 U.S.C. § 841(b)(1)(B)Gi)(ID and 21 U.S.C. § 846. If the Court accepts
this Plea Agreement, once the Court has pronounced sentence, the United States will move to
dismiss the remaining counts of the Indictment against the Defendant.

CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

2. The Defendant acknowledges that he has been advised and understands that he has
a right to have a United States District Judge presiding when he enters a guilty plea and that he
can exercise that right without concern or reservation. The Defendant and the United States hereby
consent to have the proceedings required by Rule 11 of the Federal Rules of Criminal Procedure

incident to the making of the plea to be conducted by the United States Magistrate Judge. If, after

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conducting such proceedings, the Magistrate Judge recommends that the plea(s) of guilty be
accepted, a presentence investigation and report will be ordered pursuant to Federal Rule of
Criminal Procedure 32. The Defendant acknowledges that his plea of guilty is subject to approval
and acceptance by the District Judge and that sentencing will be conducted by the District Judge.

WAIVER OF OBJECTIONS TO MAGISTRATE’S
REPORT AND RECOMMENDATION

3. The parties acknowledge that pursuant to 28 U.S.C. § 636(b)(1)(B), the failure to
file objections to the Report and Recommendation within fourteen (14) days bars them from
objecting to the District Court's acceptance of the guilty plea as recommended by the Magistrate
Judge. Having been advised of the right to object to the Report and Recommendation, the parties
wish to waive that right for the purpose of expediting acceptance of the guilty pleas(s) in this
matter. Accordingly, evidenced by their signatures appearing below, the parties hereby waive the
right to object to the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty,
and consent to acceptance of the same by the United States District Judge so that acceptance of
the guilty plea(s) may proceed forthwith.

AGREEMENT REGARDING FORFEITURE

4. The Defendant, Stephen Alexander Boyles, hereby agrees to forfeit all rights, title
and interest to the following property which is subject to forfeiture as substitute assets as
authorized pursuant to 18 U.S.C. § 982(b)(1) and 21 U.S.C. § 853(p): a forfeiture money judgment
in the amount of $25,000. The Defendant acknowledges that all property covered by this
agreement is subject to forfeiture as proceeds of illegal conduct, property facilitating illegal
conduct, property involved in illegal conduct giving rise to forfeiture, or as substitute assets for
property otherwise subject to forfeiture.

a. The Defendant consents to the immediate entry of a preliminary order of

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forfeiture upon entry of the guilty plea. The Defendant further agrees that upon entry of the
preliminary order of forfeiture, such order will be considered final as to Defendant's interests in
the property(ies). The Defendant agrees to immediately withdraw any claims to property(ies)
seized in connection with this case in any pending administrative and civil forfeiture proceeding,
and consents to the forfeiture of all properties seized in connection with this case to the United
States. The Defendant agrees to execute any and all documents requested by the United States
to facilitate or complete the forfeiture process(es.) The Defendant further agrees not to contest
or to assist any other person or entity in contesting the forfeiture of the property(ies) seized in
connection with this case.

b. The Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment. The Defendant acknowledges
that he/she understands that the forfeiture of assets is part of the sentence that may be imposed in
this case and waives any failure by the Court to advise him of this, pursuant to Rule 11(b)(1)(J), at
the time his guilty plea is accepted.

Cc. The Defendant further agrees to waive all constitutional and statutory
challenges in any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the
forfeiture constitutes an excessive fine or punishment. The Defendant agrees to take all steps as
requested by the United States to pass clear title to forfeitable assets to the United States, and to
testify truthfully in any judicial forfeiture proceeding. The Defendant also agrees that the forfeiture

provisions of this Plea Agreement are intended to, and will, survive him, notwithstanding the

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abatement of any underlying criminal conviction after the execution of this agreement.
ADMISSION OF FACTUAL BASIS IN SUPPORT OF GUILTY PLEA(S)

5. The Defendant has fully discussed with defense counsel the facts of this case and
the elements of the crime(s) to which the Defendant is pleading guilty. The Defendant has
committed each of the elements of the crime(s) to which the Defendant is pleading guilty and
admits that there is a factual basis for this guilty plea. The following facts are true and undisputed:

a. Throughout late 2020 and early 2021, an informant based in the Fayetteville
Division of the Western District of Arkansas who was working with the FBI
cultivated a drug trafficking relationship with Stephen Alexander Boyles (“Boyles”
hereafter). Although Boyles’ residence and base of operations was in Dallas, Texas,
the investigation eventually revealed a cocaine distribution conspiracy between all
four (4) of the co-conspirators on the Indictment that involved the geographic areas
of Dallas, Texas; Hot Springs, Arkansas; and the Northwest Arkansas region.

b. On January 13, 2021, the informant made arrangements with Boyles to purchase
one-half of a kilogram of cocaine in exchange for $20,000 in the Dallas, Texas area.
The informant was provided with $20,000 in law enforcement funds to conduct the
transaction and equipped with a recording device to monitor and memorialize the
transaction. The FBI had also provided the informant with a hotel room in Dallas.
The informant, the informant’s vehicle, and the hotel room were all searched for
contraband with none located.

c. At approximately 12:45 p.m., Boyles arrived at the informant’s hotel and entered
the informant’s hotel room. Boyles was carrying a bag, inside which was a money-
counting machine which Boyles used to count the $20,000 in law enforcement
funds. In discussions captured on the recording device, the informant explained that
he was not going to relinquish the $20,000 in funds until such time as they were
ready to complete the cocaine transaction. The informant and Boyles decided to
leave the hotel and travel to a restaurant a short distance away for lunch. At
approximately 12:55 p.m., both the informant and Boles left the hotel and traveled
to the restaurant in their respective vehicles while under FBI surveillance.

d. At the restaurant, Boyles explained they would need to travel to a nearby apartment
to conduct the transaction. When the meal was complete, the informant and Boyles,
while under surveillance, drove their respective vehicles to an apartment complex
a short distance away, arriving at approximately 2:16 p.m. and parking their
respective vehicles in adjacent spots. Very shortly after arriving, a Hispanic male
whom Boyles referred to as “Ricky” brought a water-filter box to where the
informant and Boyles were waiting and provided it to the informant. Inside the box
were two brick-shaped objects that were represented as one-quarter of a kilogram

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each of cocaine, for a total of one-half of a kilogram. The informant provided
“Ricky” with the $20,000 in law enforcement funds. During the transaction, both
Boyles and “Ricky” commented on the high quality of the cocaine. The transaction
was captured on the recording device concealed on the informant’s person.

e. When the transaction was complete, the informant traveled back to law
enforcement’s location while under surveillance, where the informant and their
vehicle were searched with no contraband located. The informant provided
investigators with the suspected cocaine and the recording device and was released
from the operation. The suspected cocaine was later sent to the DEA laboratory for
further testing, which determined that the substance was 509.6 grams of cocaine.

f. Throughout a series of controlled calls, meetings and controlled purchases of
cocaine in Dallas, Texas between the informant and Boyles, an agreement was
reached for the informant, Boyles, and “Ricky” to meet in Hot Springs, Arkansas
to conduct a cocaine transaction on February 27, 2021. Further investigation also
determined that “Ricky” was in fact actually Jose Mendez Garza (“Garza”
hereafter).

g. On February 27, 2021, the FBI secured a hotel room for the informant at a hotel in
Hot Springs, Arkansas, which is within the Western District of Arkansas. Both the
informant and the hotel room were equipped with recording devices so that the
transaction could be monitored and memorialized. The informant and the room
were searched with no contraband located, and the informant was provided with
$20,000 in FBI funds to make the transaction.

h. The informant, while under surveillance, remained in the hotel room until Boyles
arrived at approximately 11:24 a.m. Once inside the room, the informant provided
Boyles with the $20,000 in FBI funds, which Boyles immediately counted. Upon
counting the money, Boyles stated that he was going to return to his vehicle to
retrieve the cocaine. Boyles then left the room.

i. At approximately 11:32 a.m., Boyles returned to the room with co-defendant Garza,
who again introduced himself to the informant as “Ricky.” Garza was carrying a
bank-style, locking bag, which he opened and emptied onto the bed. The bag
contained numerous individual packages of a substance that Boyles and Garza
represented as cocaine, which the informant then stored away inside the hotel room.
The entire transaction was captured on the recording device.

j. The three remained in the hotel room until approximately 12:05 p.m., when a
limousine picked up the informant, Boyles, and Garza, who traveled to a casino
where they spent the remainder of the day together while under FBI surveillance.
At approximately 12:08 p.m., just after the departure of the limousine, an FBI
investigator entered the hotel room and retrieved the cocaine.

k. The suspected cocaine was later sent to the DEA laboratory for testing, which

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confirmed the substance was 448.2 grams of cocaine. Collectively between the
January 13, 2021 transaction and the April 10, 2021 transaction, Boyles and Garza
distributed 957.8 grams of cocaine to the informant.

1. Based upon these facts, the Defendant agrees and stipulates that the United States
could prove beyond a reasonable doubt that the Defendant participated in a
conspiracy to distribute more than five hundred (500) grams of cocaine in the
Western District of Arkansas.

ADVICE OF RIGHTS
6. The Defendant hereby acknowledges that he has been advised of and fully
understands the following constitutional and statutory rights:

a. to have an attorney and if the Defendant cannot afford an attorney, to have
one provided to him and paid for at the United States’ expense;

to persist in his plea of not guilty;

to have a speedy and public trial by jury;

to be presumed innocent until proven guilty beyond a reasonable doubt,

to confront and examine witnesses who testify against him;

to call witnesses on his behalf;

to choose to testify or not testify and that no one could force the Defendant
to testify; and,

to have at least 30 days to prepare for trial.

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WAIVER OF RIGHTS

7. The Defendant hereby acknowledges that he understands with respect to each count
to which he pleads guilty, he thereby WAIVES all of the rights listed as (b) through (h) of the
above paragraph.

WAIVER OF ACCESS TO RECORDS

8. The Defendant hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy

Act of 1974, 5 U.S.C. § 552a.

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WAIVER OF "HYDE" CLAIM
9. The Defendant hereby waives any claim under the Hyde Amendment, 18 U.S.C.
§ 3006A (Statutory Note), for attorney fees and other litigation expenses arising out of the

investigation or prosecution of this matter.

EFFECTS OF BREACH OF THIS AGREEMENT BY DEFENDANT

10. The Defendant agrees that if after signing this Plea Agreement the Defendant
commits any crimes, violates any conditions of release, or fails to appear for sentencing, or if the
Defendant provides information to the Probation Office or the Court that is intentionally
misleading, intentionally incomplete, or intentionally untruthful, or if the Defendant violates any
term of this Plea Agreement, takes a position at sentencing which is contrary to the terms of this
Plea Agreement or attempts to withdraw from this Plea Agreement, this shall constitute a breach
of this Plea Agreement which shall release the United States from any and all restrictions or
obligations placed upon it under the terms of this Agreement and the United States shall be free to
reinstate dismissed charges or pursue additional charges against the Defendant. The Defendant
shall, however, remain bound by the terms of the agreement, and will not be allowed to withdraw
this plea of guilty unless permitted to do so by the Court.

11. | The Defendant further agrees that a breach of any provisions of this Plea Agreement
shall operate as a WAIVER of Defendant's rights under Rule 1 1(f) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence and the United States shall be allowed

to use and to introduce into evidence any one or more of the following:

a. admissions against interest, both oral and written, made by the Defendant
to any person;

b. statements made by the Defendant during his change of plea hearing;

c. the factual basis set forth in the Plea Agreement;

d. any testimony given under oath in these proceedings or to a grand jury or a

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petit jury;

e. any and all physical evidence of any kind which the Defendant has provided
to the United States; and,

f. any and all information provided by the Defendant to the United States’
attorneys, or to federal, state, county, and/or local law enforcement officers.

MAXIMUM PENALTIES
12. The Defendant hereby acknowledges that he has been advised of the maximum
penalties for the count to which he is pleading guilty. By entering a plea of guilty to count one
(1) of the Indictment, the Defendant agrees that he faces:

a maximum term of imprisonment for forty (40) years;

a mandatory minimum term of imprisonment for five (5) years;

a maximum fine of $5,000,000;

both imprisonment and fine;

a term of supervised release of not less than four (4) years, nor more than
life which begins after release from prison;

a possibility of going back to prison if the Defendant violates the conditions
of supervised release; and

g. a special assessment of $100.00.

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CONDITIONS OF SUPERVISED RELEASE
13. | The Defendant acknowledges that if a term of supervised release is imposed as part
of the sentence, the Defendant will be subject to the standard conditions of supervised release as
recommended by the United States Sentencing Commission and may be subject to other special
conditions of supervised release as determined by the Court. The standard conditions of
supervised release are as follows:

a. The Defendant shall report to the probation office in the federal judicial district
where he is authorized to reside within 72 hours of release from imprisonment,
unless the probation officer instructs the Defendant to report to a different probation

. Office or within a different time frame.

b. After initially reporting to the probation office, the Defendant will receive

"instructions from the court or the probation officer about how and when to report to
the probation officer, and the Defendant shall report to the probation officer as
instructed.

c. The Defendant shall not knowingly leave the federal judicial district where he is
authorized to reside without first getting permission from the court orthe probation

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officer.

d. The Defendant shall answer truthfully the questions asked by the probation officer.

e. The Defendant shall live at a place approved by the probation officer. If the
Defendant plans to change where he lives or anything about his living arrangements
(such as the people the Defendant lives with), the Defendant shall notify the
probation officer at least 10 days before the change. If notifying the probation
officer at least 10 days in advance is not possible due to unanticipated
circumstances, the Defendant shall notify the probation officer within 72 hours of
becoming aware of a change or expected change.

f. The Defendant shall allow the probation officer to visit the Defendant at any time
at his home or elsewhere, and the Defendant shall permit the probation officer to
take any items prohibited by the conditions of the Defendant’s supervision that he
or she observes in plain view.

g. The Defendant shall work full time (at least 30 hours per week) at a lawful type of
employment, unless the probation officer excuses the Defendant from doing so. If
the Defendant does not have full-time employment he shall try to find full-time
employment, unless the probation officer excuses the Defendant from doing so. If
the Defendant plans to change where the Defendant works or anything about his
work (such as the position or the job responsibilities), the Defendant shall notify
the probation officer at least 10 days before the change. Ifnotifying the probation
officer at least 10 days in advance is not possible due to unanticipated
circumstances, the Defendant shall notify the probation officer within 72 hours of
becoming aware of a change or expected change.

h. The Defendant shall not communicate or interact with someone the Defendant
knows is engaged in criminal activity. If the Defendant knows someone has been
convicted of a felony, the Defendant shall not knowingly communicate or interact
with that person without first getting the permission of the probation officer.

i. If the Defendant is arrested or questioned by a law enforcement officer, the
Defendant shall notify the probation officer within 72 hours.

j. The Defendant shall not own, possess, or have access to a firearm, ammunition,
destructive device, or dangerous weapon (i.e., anything that was designed, or was
modified for, the specific purpose of causing bodily injury or death to another
person, such as nunchakus or Tasers).

k. The Defendant shall not act or make any agreement with a law enforcement agency
to act as a confidential human source or informant without first getting the
permission of the court.

1. Ifthe probation officer determines that the Defendant poses a risk toanother person
(including an organization), the probation officer may require the Defendant to
notify the person about the risk and the Defendant shall comply with that
instruction. The probation officer may contact the person and confirm that the
Defendant has notified the person about the risk.

m. The Defendant shall follow the instructions of the probation officer related to the
conditions of supervision.

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AGREEMENT TO PROVIDE FINANCIAL INFORMATION

14. The Defendant agrees that no later than thirty (30) days after the change of plea,
the Defendant shall complete the financial disclosure statement and the accompanying releases
provided by the United States Attorney’s Office and deliver them to the United States Probation
Office and the United States Attorney’s Office. This financial disclosure statement is sworn by the
Defendant to be true and correct under penalty of perjury.. The Defendant agrees that his failure
to truthfully and fully complete the financial disclosure statement and accompanying releases may
result in the government objecting to the Defendant receiving a reduction for acceptance of
responsibility.

PAYMENT OF MONETARY PENALTIES

15. | The Defendant agrees that monetary penalties to include special assessments, fine,
and/or restitution imposed by the Court will be (i) subject to immediate enforcement as provided
in 18 U.S.C. § 3613c, and (ii), submitted to the Treasury Offset Program so that any federal
payment such as an income tax refund or transfer of returned property the Defendant receives may
be offset and applied to federal debt without affecting the periodic payment schedule ordered by
the Court.

NO OTHER CHARGES

16. The United States agrees that no other federal charges, which stem from the
activities described in the Indictment, will be brought against the Defendant in the Western District
of Arkansas.

SENTENCING GUIDELINES ARE ADVISORY BUT NOT MANDATORY

17. The parties acknowledge that the Court shall consult and take into account the

United States Sentencing Commission Guidelines in determining the sentence, but that the Court

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is not bound by the Guidelines and may sentence the Defendant to any sentence within the statutory
range.
AGREEMENT DOES NOT PROMISE A SPECIFIC SENTENCE

18. | The Defendant acknowledges that discussions have taken place concerning the
possible guideline range which might be applicable to this case. The Defendant agrees that any
discussions merely attempt to guess at what appears to be the correct guideline range and do not
bind the District Court. Further, the Defendant acknowledges that the actual range may be greater
than contemplated by the parties. In the event that the actual guideline range is greater than the
parties expected, the Defendant agrees that this does not give him the right to withdraw his plea of
guilty.

RELEVANT CONDUCT CONSIDERED

19. At the sentencing hearing, the United States will be permitted to bring to the Court's
attention, and the Court will be permitted to consider, all relevant information with respect to the
Defendant's background, character and conduct, including the conduct that is the subject of this
investigation for which he has not been charged up to the date of this Agreement, and/or which is
the basis for any of the counts which will be dismissed pursuant to this Agreement, as provided by
§ 1B1.3 of the Sentencing Guidelines.

PERJURY

20. —_ In the event that it is determined that the Defendant has not been truthful with the
Court as to any statements made while under oath, this Plea Agreement shall not be construed to
protect the Defendant from prosecution for perjury or false statement.

CONCESSIONS BY THE UNITED STATES

21. The United States agrees not to object to a recommendation by the Probation Office

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or a ruling of the Court which awards the Defendant an appropriate-level decrease in the base
offense level for acceptance of responsibility. If the offense level in the Presentence Report is 16
or greater and the Court accepts a recommendation in the Presentence Report that the Defendant
receive two points for acceptance of responsibility, the United States agrees to move for an
additional one-point reduction for acceptance of responsibility for a total of three points. However,
the United States will not be obligated to move for an additional one-point reduction or recommend
any adjustment for acceptance of responsibility if the Defendant engages in conduct inconsistent
with acceptance of responsibility including, but not limited to, the following a) falsely denies, or
makes a statement materially inconsistent with, the factual basis set forth in this agreement, b)
falsely denies additional relevant conduct in the offense, c) is untruthful with the United States,
the Court or probation officer, or d) materially breaches this Plea Agreement in any way.

22. The United States agrees not to object to a recommendation by the Probation Office
or a ruling by the Court that the Defendant qualifies under both 18 U.S.C. § 3553(f) and U.S.S.G.
§ 5C1.2, the Safety Valve provision.

UNITED STATES’ RESERVATION OF RIGHTS
23. Although the United States agrees not to object to certain findings by the Probation

Office or to rulings of the Court, it reserves the right to:

a. make all facts known to the Probation Office and to the Court;

b. call witnesses and introduce evidence in support of the Presentence Report;

c. contest and appeal any finding of fact or application of the Sentencing
Guidelines;

d. contest and appeal any departure from the appropriate Guideline range; and,

e. defend all rulings of the District Court on appeal including those rulings

which may be contrary to recommendations made or positions taken by the
United States in this Plea Agreement which are favorable to the Defendant.

NO RIGHT TO WITHDRAW THE GUILTY PLEA

24. The United States’ concessions on sentencing options are non-binding and made

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pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure. As a result, if the Court
should reject the Defendant's requests or recommendations for certain findings of fact or
applications of the Guidelines, the Defendant acknowledges that there is no right to withdraw the
guilty plea.
DISMISSAL OF COUNTS

25. The United States’ agreement to dismiss certain counts of the Indictment is made
pursuant to Rule 1 1(c)(1)(A) of the Federal Rules of Criminal Procedure. As a result, if the Court
should reject the United States’ motion to dismiss the agreed counts of the Indictment, the
Defendant shall be afforded the right to withdraw the plea pursuant to Rule 11(c)(5)(B) of the
Federal Rules of Criminal Procedure.

AGREEMENT NOT BINDING ON THE COURT

26. The parties agree that nothing in this Agreement binds the District Court to:
make any specific finding of fact;
make any particular application of the Sentencing Guidelines;
hand down any specific sentence;
accept any stipulation of the parties as contained in this Plea Agreement;

and,
e. accept this Plea Agreement.

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27. The United States and the Defendant acknowledge that the Court has an obligation
to review the Presentence Report before it accepts or rejects this Plea Agreement.
AGREEMENT DOES NOT BIND ANY OTHER ENTITY
28. The parties agree that this Plea Agreement does not bind any governmental entity
other than the United States Attorney's Office for the Western District of Arkansas.
SPECIAL ASSESSMENT

29. | The Defendant agrees to pay $100.00 as the special assessment in this case.

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REPRESENTATIONS BY DEFENDANT
30. By signing this Plea Agreement, the Defendant acknowledges that:

a. The Defendant has read this Agreement (or has had this Agreement read to
him) and has carefully reviewed every part of it with defense counsel.

b. The Defendant fully understands this Plea Agreement and is not under the
influence of anything that could impede the Defendant's ability to fully
understand this Plea Agreement.

c. No promises, agreements, understandings, or conditions have been made or
entered into in connection with the decision to plead guilty except those set
forth in this Plea Agreement.

d. The Defendant is satisfied with the legal services provided by defense
counsel in connection with this Plea Agreement and matters related to it.

e. The Defendant has entered into this Plea Agreement freely, voluntarily, and
without reservation and the Defendant's desire to enter a plea of guilty is not
the result of threats or coercion directed at the Defendant or anyone
connected with the Defendant.

REPRESENTATIONS BY DEFENSE COUNSEL
31. By signing this Plea Agreement, counsel for the Defendant acknowledges that:

a. Counsel has carefully reviewed every part of this Agreement with the
Defendant and this Agreement accurately and completely sets forth the
entire agreement between the United States and the Defendant.

b. Counsel has explained the ramifications of the Plea Agreement to the
Defendant, and believes that the Defendant understands this Plea
Agreement, what rights are being lost by pleading guilty, and what the
United States has agreed to do in exchange for the plea of guilty.

c. Counsel believes that the Defendant’s decision to enter into this Agreement
is an informed and voluntary one.

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PLEA AGREEMENT CONSTITUTES THE ENTIRE AGREEMENT
32. The Defendant and his attorney both acknowledge that this Plea Agreement
constitutes the entire agreement of the parties. Further, all parties agree that there are no oral

agreements or promises which have been made to induce the Defendant to change his plea to

guilty.

Zo! Nae
2 _ day of UnZ _ 2023.

DAVID CLAY FOWLKES
UNITED STATES ATTORNEY

 
   

     

ohn F. Gussio, II “Brandon Carter
Attorney for Defendant Assistant U.S. Attorney

 

Aaron Wiley
Attomey for Defendant

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